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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

ALEXANDER YOUNG

              Plaintiff,

       v.                                           Civil Action: 1:11-cv-01562-ELH

THIEBLOT RYAN P.A.

              Defendant.



                           MOTION FOR SUMMARY JUDGMENT


              Defendant, Thieblot Ryan P.A., by its attorney, Michael J. Klima, Jr., files its

Motion for Summary Judgment, pursuant to F.R.Civ.P. 56. There is no genuine dispute as to

any material facts and Defendant is entitled to judgment as a matter of law. Defendant’s

Motion for Summary Judgment is support by its Memorandum In Support Of Motion For

Summary Judgment and Affidavit of Bruce R. Miller.



                                            THIEBLOT RYAN P.A.



                                            By:      /s/ Michael J. Klima, Jr.
                                                    MICHAEL J. KLIMA, JR.
                                                    810 Gleneagles Court
                                                    Suite 312
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                                                    Attorney for Defendant
                                                    Federal Bar No. 25562
                                                    Attorney File No.: 10-2460
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                            CERTIFICATE OF SERVICE


             I HEREBY CERTIFY that on this      12th    day of June, 2012, a copy of

foregoing Motion For Summary Judgment was mail, by first class mail, postage prepaid to

Bernard Thomas Kennedy, Esquire, The Kennedy Law Firm, P.O. Box 657, Edgewater, MD

21037.



                                         /s/ Michael J. Klima, Jr.
                                         Michael J. Klima, Jr.
